            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                         CRIMINAL NO. 3:03CR113



UNITED STATES OF AMERICA             )
                                     )
                                     )
            VS.                      )            ORDER
                                     )
WILLIAM CHERRY                       )
                                     )


      THIS MATTER is before the Court on the Defendant’s motion for credit

for time spent on electronic monitoring. The motion is denied.

      The Defendant was arrested on September 30, 2003, and ordered to be

released on bond on October 6, 2003. On October 16, 2003, the Defendant

was ordered to undergo electronic monitoring while he remained on home

detention as a condition of his pretrial release. In the electronic monitoring

agreement, to which the Defendant specifically agreed, and the Order, it was

explicitly stated that the “Defendant understands and agrees that any time

spent in home detention under electronic monitoring will not be credited as

time served at any future sentence.” Order, filed October 16, 2003. Despite




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this explicit statement, the Defendant now seeks an amendment of his

Judgment of Conviction to provide for such credit.

      The Attorney General of the United States, not the sentencing court, has

the authority to compute the amount of presentence credit. United States v.

Wilson, 503 U.S. 329 (1992). And, any challenge to the computation of a

sentence must be brought in the district of confinement. United States v.

Odiana, 7 F.3d 1227 (table), 1993 WL 359159, **1 (4th Cir. 1993) (citing

United States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989)). Assuming

arguendo that this Court had jurisdiction to entertain the motion, it would be

denied. Title 18 U.S.C. § 3585(b) provides in pertinent part:

      A defendant shall be given credit toward the service of a term of
      imprisonment for any time he has spent in official detention prior
      to the date the sentence commences –
              (1) as a result of the offense for which the sentence was imposed
      . . . that has not been credited against another sentence.

18 U.S.C. § 3585(b).

      Conditions of release are not custody. “For the purpose of
      calculating credit for time served under 18 U.S.C. § 3585, 'official
      detention' means imprisonment in a place of confinement, not
      stipulations or conditions imposed upon a person not subject to
      full physical incarceration."




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United States v. Insley, 927 F.2d 185, 186 (4th Cir. 1991) (quoting United

States v. Woods, 888 F.2d 653, 655 (10th Cir. 1989). This Circuit has also

denied credit for time spent in a substance abuse treatment center, rejecting

the prisoner's arguments that a broad definition of "official detention" should

include time released on bond based on the "degree of restraint" to which the

defendant was subjected during pretrial release. Randall v. Whelan, 938

F.2d 522 (4th Cir. 1991); accord, United States v. Bowe, 309 F.3d 234,

239 (4th Cir. 2002). Thus, home detention under the terms of electronic

monitoring do not qualify as official detention.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to correct

judgment is hereby DENIED.




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                   Signed: November 14, 2005




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